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Paul J. Labov, Esq.
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
Email: plabov@pszjlaw.com

Counsel to Dalia Genger

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re                                                          :
                                                               :   Chapter 7
ORLY GENGER,                                                   :
                                                               :   Case No.: 19-13895 (JLG)
                                  Debtor.                      :
                                                               :
---------------------------------------------------------------X
DALIA GENGER,                                                  :
                                                               :
                                   Plaintiff,                  :
           v.                                                  :   Adv. Pro. No. 20-01010 (JLG)
                                                               :
ORLY GENGER, MICHAEL BOWEN, ARIE :
GENGER, ARNOLD BROSER, DAVID                                   :
BROSER, ERIC HERSCHMANN, THE                                   :
GENGER LITIGATION TRUST, ADBG LLC, :
TEDCO INC., and DEBORAH PIAZZA as                              :
Chapter 7 Trustee,                                             :
                                                               :
                                   Defendants.                 :
---------------------------------------------------------------X

                        NOTICE OF APPEARANCE AND REQUEST
                    FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

                 PLEASE TAKE NOTICE that Dalia Genger hereby appears by her counsel,

Pachulski Stang Ziehl & Jones LLP (“PSZJ”). PSZJ hereby enters its appearance pursuant to

section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9010(b)


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of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests that the

undersigned be added to the official mailing matrix and service lists in this case. PSZJ requests,

pursuant to Bankruptcy Rules 2002, 3017 and 9007 and section 1109(b) of the Bankruptcy Code,

that copies of all notices and pleadings given or required to be given in this chapter 7 case and

copies of all papers served or required to be served in this chapter 7 case, including but not

limited to, all notices (including those required by Bankruptcy Rule 2002), reports, pleadings,

motions, applications, lists, and all other matters arising in the above-captioned case be served

upon Dalia Genger through service upon PSZJ at the address and telephone and facsimile

number set forth below:

                               PACHULSKI STANG ZIEHL & JONES LLP
                               Paul J. Labov, Esq.
                               780 Third Avenue, 34th Floor
                               New York, New York 10017
                               Telephone: (212) 561-7700
                               Facsimile: (212) 561-7777
                               Email: plabov@pszjlaw.com

                 PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in this case, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed or

made with regard to the above-captioned case and proceedings therein.




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Dated: July 20, 2020                      PACHULSKI STANG ZIEHL & JONES LLP

                                          /s/ Paul J. Labov
                                          Paul J. Labov, Esq.
                                          PACHULSKI STANG ZIEHL & JONES LLP
                                          780 Third Avenue, 34th Floor
                                          New York, New York 10017
                                          Telephone: (212) 561-7700
                                          Facsimile: (212) 561-7777
                                          Email: plabov@pszjlaw.com

                                          Counsel to Dalia Genger




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